     Case 4:23-cr-06026-RLP     ECF No. 63     filed 10/26/23   PageID.145          Page 1 of 3



 1                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT

 2                                                               EASTERN DISTRICT OF WASHINGTON



 3                                                                Oct 26, 2023
                                                                      SEAN F. MCAVOY, CLERK
 4
 5                        UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                       Nos. 4:23-CR-06026-SAB-2
                                                        4:23-CR-06026-SAB-3
 9         Plaintiff,                                   4:23-CR-06026-SAB-4
10         v.
11 AGUSTIN PADILLA JR., ENEDINO                    ORDER GRANTING UNITED
12 PADILLA-MONTERO, and ANTONIO                    STATES’ MOTION FOR A
13 SANCHEZ,                                        PROTECTIVE ORDER;
14         Defendants.                             MOTION TO DISCLOSE
15
16
17         Before the Court are the United States’ Motion for Protective Order, ECF
18 No. 59; related Motion to Expedite, ECF No. 60; Unopposed Motion [to] Disclose
19 to Defense Counsel But Not Unseal, ECF No. 61, and related Motion to Expedite,
20 ECF No. 62. The motions were heard without oral argument. Defendant Agustin
21 Padilla, Jr. is represented by Scott Johnson and Mitchell Crook. Defendant
22 Enedino Padilla-Montero is represented by Ricardo Hernandez. Defendant Antonio
23 Sanchez is represented by Nicholsas Marchi. The United States is represented by
24 Laurel Holland.
25         The United States asks the Court to issue a Protective Order that covers the
26 dissemination of all discovery. It also asks leave to provide defense counsel certain
27 documents while those documents remain under seal for all other purposes. The
28 United States indicates that counsel for Defendants do not oppose its motions.
     ORDER GRANTING UNITED STATES’ MOTION FOR A
     PROTECTIVE ORDER; MOTION TO DISCLOSE ~ 1
     Case 4:23-cr-06026-RLP      ECF No. 63    filed 10/26/23    PageID.146   Page 2 of 3



 1         Good cause exists to grant the motions.
 2         Accordingly, IT IS HEREBY ORDERED:
 3         1. The United States’ Motion for Protective Order, ECF No. 59, and related
 4 Motion to Expedite, ECF No. 60, are GRANTED.
 5         2. The United States’ Unopposed Motion [to] Disclose to Defense Counsel
 6 But Not Unseal, ECF No. 61, and related Motion to Expedite, ECF No. 62, are
 7 GRANTED.
 8         3. All documents filed in the following case numbers:
 9               a) No. 1-23-MJ-07127
10               b) No. 1-23-MJ-07126
11               c) No. 1-23-MJ-07128
12               d) No. 1-23-MJ-07142
13               e) No. 1-23-MJ-07143
14               f) No. 1-23-MJ-07144
15 may be disclosed to pertinent defense counsel, but not for any further public
16 dissemination, unless otherwise ordered by this Court. Counsel for both parties
17 may reference the existence of the sealed documents during any hearing in this
18 matter.
19         4. The Court enters the following Protective Order:
20         1. The United States will provide discovery materials on an on-going basis
21         to defense counsel;
22         2. Discovery materials that contain the voice or image of a confidential
23         source will be made available for defense counsels’ review at the United
24         States Attorney’s Office. Until further Order of the Court, those materials
25         may not be shown to the Defendants or left in a Defendants’ custody
26         however, counsel may discuss the content(s) of those materials with their
27         client;
28
       ORDER GRANTING UNITED STATES’ MOTION FOR A
       PROTECTIVE ORDER; MOTION TO DISCLOSE ~ 2
     Case 4:23-cr-06026-RLP     ECF No. 63     filed 10/26/23    PageID.147    Page 3 of 3



 1         3. Defense counsel may possess but not copy (excluding the production of
 2         necessary working copies) all discovery materials that do not contain the
 3         voice or image of a confidential source, including sealed documents;
 4         4. Defense counsel may show to, and discuss with the Defendants, all
 5         discovery materials that do not contain the voice or image of a confidential
 6         source, including sealed documents;
 7         5. Defense counsel shall not provide original or copies of discovery
 8         materials to the Defendants;
 9         6. Defense counsel shall not otherwise provide original or copies of the
10         discovery material to any other person, including subsequently appointed or
11         retained defense counsel, but excluding any staff of defense counsel or
12         investigator and/or expert engaged by defense counsel, who will also be
13         bound by the terms and conditions of the Protective Order;
14         7. The United States, defense counsel, and witnesses may reference the
15         existence and content of sealed discovery material in open and closed court
16         proceedings relevant to 4:23-CR-6027-SAB; provided however, any written
17         reference to the content of the protected discovery shall be filed under seal.
18         IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
19 and forward copies to counsel.
20         DATED this 26th day of October 2023.
21
22
23
24
25
26                                    Stanley A. Bastian
27
                               Chief United States District Judge
28
       ORDER GRANTING UNITED STATES’ MOTION FOR A
       PROTECTIVE ORDER; MOTION TO DISCLOSE ~ 3
